                   Case 3:20-cv-05789 Document 1 Filed 08/06/20 Page 1 of 5



 1

 2

 3

 4

 5
 6

 7                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF WASHINGTON
 8                                              ATTACOMA

 9
     PORT OF OLYMPIA,                                     IN ADMIRALTY
10
                            Plaintiff,                     Case No. 3:20-cv-5789
11
     V.                                                   VERIFIED COMPLAINT FOR BREACH
12                                                        OF MARITIME CONTRACT AND
     MN THE DREAM f/k/a EVERGREEN                         VESSEL ARREST
13   STATE and JONES GLOBAL
     INVESTMENT LLC,
14
                            Defendants.
15
16            COMES NOW, Plaintiff PORT OF OLYMPIA, by and through undersigned counsel,

17   and files this Verified Complaint against Defendants Jones Global Investment LLC in

18   personam (hereinafter "Jones Global") and M/V THE DREAM f/k/a EVERGREEN STATE,

19   in rem, (hereinafter "the Vessel"). Plaintiff alleges and pleads as follows:

20                               I.        JURISDICTION AND VENUE
21            l.        This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1333. This

22   action is brought under the provisions of Rule C of the Supplemental Rules for Admiralty

23   and Maritime Claims and Asset Forfeiture Actions (hereinafter "Supplemental Rules"). This

24   case is an admiralty and maritime claim within the meaning of Rule 9(h) of the Federal Rules

25   of Civil Procedure in that it involves a claim for breach of a maritime contract and for

26   enforcement of a maritime lien.
      VERIFIED COMPLAINT: CASE NO. 3:20-cv-5789- 1                           SCHWABE, WILLIAMSON & WYATI, P.C.
                                                                                      Attorneys at Law
                                                                                 1420 5th Avenue, Suite 3400
                                                                                   Seattle, WA 98101-4010
                                                                                  Telephone: 206-622-1711

     PDX\136699\256189\Mil-IE\28637441.l
                   Case 3:20-cv-05789 Document 1 Filed 08/06/20 Page 2 of 5



 1            2.       Venue is proper in the United States District Court for the Western District of

 2   Washington pursuant to 28 U.S.C. § 1391(b)(2) because the M/V THE DREAM is located in

 3   the judicial district in Olympia, Washington.

 4                                        II.      THE PARTIES
 5            3.       At all times material hereto, Plaintiff Port of Olympia (the "Port" or

 6   "Plaintiff') was and is a Washington Port District operating under RCW Title 53.

 7            4.       At all times material hereto, Defendant Jones Global was a foreign

 8   corporation doing business within the District. Defendant Jones Global is the registered

 9   owner of the MN THE DREAM (fra EVERGREEN STATE).

10            5.       At all times material hereto, Defendant M/V THE DREAM (flea

11   EVERGREEN STATE) (hereinafter the "Vessel") is a 4113 gross ton (ITC), 296.7'

12   passenger ferry, built in 1954, with IMO No. 8836132, Official No. 268732. The Vessel is

13   now within the District, moored at the Port, and is subject to the jurisdiction and venue of

14   this Court.

15                                              III.   FACTS
16            6.       On or about April 9, 2018, Centerpoint Marine Services, LLC, acting at all

17   times as the authorized agent for owner Jones Global and the Vessel, entered into a layberth

18   agreement with the Port (the "Layberth Agreement"). Pursuant to the Layberth Agreement,

19   the Port agreed to provide moorage and dockage services to the Vessel through June 13,

20   2018, on specified terms.

21            7.       Among its terms, the Lay berth Agreement required Jones Global to maintain

22   insurance on the Vessel, list the Port as an additional insured, and pay monthly moorage.

23            8.       Through a series of extensions, the last of which is dated January 2, 2020,

24   Jones Global and the Port agreed to continue providing moorage and dockage to the Vessel

25   through April 30, 2020. Copies of the Layberth Agreement and Extensions are attached

26   hereto as Exhibit A.
      VERIFIED COMPLAINT: CASE NO. 3:20-cv-5789 -2                            SCHWABE, WILLIAMSON & WYATI, P.C.
                                                                                       Attorneys at Law
                                                                                  1420 5th Avenue, Suite 3400
                                                                                    Seattle, WA 98101-4010
                                                                                   Telephone: 206-622-1711

     PDX\1366991256189\MJHE\28637441. l
                   Case 3:20-cv-05789 Document 1 Filed 08/06/20 Page 3 of 5



 1            9.        Jones Global failed to pay moorage and dockage as required by the Layberth

 2   Agreement.

 3            10.       The Layberth Agreement provides that upon default for non-payment, or by

 4   function of the specified term ending, the Port's standard rates for moorage and related

 5   services apply, as set forth in the Port's Tariff No. 11. Thus, commencing upon the date of

 6   default and no later than April 30, 2020, Jones Global agreed to pay the Port's published

 7   Tariff rates for moorage and related services to the Vessel.

 8            11.       Jones Global has failed to pay moorage and dockage as required by the

 9   Layberth Agreement and Tariff No. 11.

10            12.       The Port is informed by Jones Global, through its counsel, that the Vessel is

11   no longer insured as required by the Layberth Agreement and the Port's published Tariff No.

12   11.

13            13.       As of July 31, 2020, Jones Global owes the Port $66,150.43 for moorage and

14   dockage services provided to the Vessel.

15            14.       The Vessel remains moored at the Port, uninsured, and is continuing to accrue

16   moorage and dockage fees at the Tariff rates.

17            FIRST CAUSE OF ACTION AGAINST DEFENDANT JONES GLOBAL FOR

18   BREACH OF MARITIME CONTRACT
19            15.       The Port repeats and realleges paragraphs 1-14 of this Verified Complaint as

20   if fully set forth herein.

21            16.       Both the Layberth Agreement and the Port's TariffNo. 11 constitute maritime

22   contracts, pursuant to which Jones Global agreed to pay the Port for moorage and dockage

23   services provided to the Vessel and to obtain and maintain insurance on the Vessel.

24            17.       Jones Global breached the Layberth Agreement and Tariff No. 11 by failing

25   to pay the Port for moorage and dockage services provided to the Vessel, and by failing to

26   maintain insurance on the Vessel.
      VERIFIED COMPLAINT: CASE NO. 3:20-cv-5789 - 3                           SCHWABE, WILLIAMSON & WYATI, P.C
                                                                                       Attorneys al Law
                                                                                  1420 5th Avenue, Suite 3400
                                                                                    Seattle, WA 98101-4010
                                                                                   Telephone: 206-622-1711

     PDX\136699\256189\MJHE\2863 7441. l
                   Case 3:20-cv-05789 Document 1 Filed 08/06/20 Page 4 of 5



 1    IV.      REQUEST FOR RULE C ARREST AND ISSUANCE OF WARRANT
                                   OF ARREST
 2
              18.      The Port restates and re-alleges paragraphs 1-17 of this Verified Complaint
 3
     and for its in rem claims against the Vessel avers as follows.
 4
              19.      The Port has a maritime lien against the Vessel for necessaries pursuant to 46
 5
     U.S.C. § 31342. Cahuenga Associates II v. SIV 11vf.AKO, 256 F. Supp. 3d 1092, 1094 (S.D.
 6
     Cal. 2017) (unpaid wharfage is proper basis for maritime necessaries lien); Canton Port Svs.,
 7
     LLC v. ]vf/V SNOW BIRD, 690 F. Supp. 2d 405 (D. Md. 2010) (docking services are
 8
     necessaries under the Federal Maritime Lien Act); Beard v. Marine Lighterage Corp., 296 F.
 9
     146, 147 (E.D.N.Y. 1924) (wharfage includes mooring of vessels for the purposes of
10
     protection and safety, and a maritime lien attaches to the ship in a home po1i).
11
              20.      The Port is entitled to a1Test the Vessel in accordance with the provisions of
12
     Rule C of the Supplemental Rules for Certain Admiralty and Maritime Claims to recover
13
     amounts owed against the Vessel, in rem.
14
              21.      The Port seeks to arrest the MN THE DREAM (fka EVERGREEN STATE),
15
     IMO No. 8836132, Official No. 268732, her engines, fi:eights, apparel, appurtenances, tackle,
16
     etc. to enforce its maritime lien.
17
               22.     The Vessel is within the District, moored at the Port's Berth 2, 911 Franklin
18
      Street, NE, Olympia, WA 98501.
19
              23.      As the conditions of Rule C have been met, the Port seeks issuance of a
20
     Wan ant of A1Test.
21
              WHEREFORE, the Port prays as follows:
22
              A        That the Court issue a warrant for the in rem arrest for the Vessel pursuant to
23
     Supplemental Rule C to enforce the Port's maritime lien and that all persons claiming an
24
     interest therein may be cited to appear and ans\ver the matters stated in the complaint;
25
              B.       That judgment be entered in favor of the Port in the sum of USD $66,150.43
26
      VERIFIED COMPLAINT: CASE NO. 3:20-cv-5789 -4                            SCHWABE, WILLIAMSON & WYATI, P.C.
                                                                                       Attorneys at Law
                                                                                  1420 5th Avenue, Suite 3400
                                                                                    Seattle, WA 98101-4010
                                                                                   Telephone: 206-622-1711

     PDX\136699\256189\MJHE\28637441.l
                    Case 3:20-cv-05789 Document 1 Filed 08/06/20 Page 5 of 5



 1   plus applicable interest, costs, and fees, and that the Vessel be condemned and sold to pay

 2   the same; and

 3             C.        That the Port have such other and further relief as the Court may deem proper

 4   and just.

 5             Dated this 6th day of August, 2020.

 6                                                     SCHWABE, WILLIAMSON & WYATT, P.C.
 7

 8                                                     By:     /s/ Molly J. Henry
                                                              Alicia L. Lowe, WSBA # 15562
 9                                                            Email: alowe@schwabe.com
                                                              Molly J. Hemy, WSBA #40818
10                                                            Email: rnhenry@schwabe.com
                                                              1420 5th A venue, Suite 3400
11                                                            Seattle, WA 98101-4010
                                                              Facsimile: 206-292-0460
12                                                            Attorneys for Plaintiff, Port ofOlympia
13

14                                             VERIFICATION

15             Len Faucher declares as follows under the penalty of perjury of the laws of the

16   United States:

17             1.        I am over the age of 18 and have personal knowledge of the matters set forth

18   herein.

19             2.        I am the Marine Terminal Director for the Port of Olympia.

20             3.        I have read the foregoing Verified Complaint and the factual allegations

21   contained therein are true and correct to the best of my knowledge, information and belief.

22

23

24
                                                 G~    Marine Terminal Director
                                                       Po1t of Olympia
25

26
      VERIFIED COMPLAINT: CASE NO. 3:20-cv-5789-5                             SCHWABE, WILLIAMSON & WYATI, P.C.
                                                                                        Attorneys at Law
                                                                                  1420 5th Avenue, Suite 3400
                                                                                    Seattle, WA 98101-4010
                                                                                   Tel ephone: 206-622-1711

     PDX\ 136699\256 l 89\MJHE\28637441. l
